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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

VICKIE PEEKS                                                                         PLAINTIFF

                                                                           NO. 1:17CV165-JMV

NANCY BERRYHILL,
COMMISSIONER OF SOCIAL SECURITY                                                    DEFENDANT

                                            ORDER

       Pending in the above-referenced case is Plaintiff’s motion for an award of $148.63 in

attorney fees pursuant to § 206(b)(1) of the Social Security Act, 42 U.S.C. § 406(b)(1) [22]. By

order [24] dated October 29, 2020, the parties were directed to show cause why the Court should

not order that the fee requested by Plaintiff be denied under § 406 but granted pursuant to 42

U.S.C. § 1383(d)(2) instead. The Court has considered the parties’ responses to the show cause

order and is ready to rule. Accordingly, for the reasons stated in the October 29 order, Plaintiff’s

request for approval of attorney fees is granted in part and denied in part. Payment of $148.63 to

Plaintiff’s counsel from Plaintiff’s back benefits is approved pursuant to 42 U.S.C. § 1383(d)(2).

       SO ORDERED this, the 9th day of November, 2020.


                                                  /s/ Jane M. Virden
                                                  U.S. MAGISTRATE JUDGE
